
USCA1 Opinion

	




          November 29, 1993     [NOT FOR PUBLICATION]                            UNITED STATES COURT OF APPEALS                                FOR THE FIRST CIRCUIT                                 ___________________          No. 93-1535                                               DAVID WAYFIELD,                                Plaintiff, Appellant,                                          v.                                   TOWN OF TISBURY,                                 Defendant, Appellee.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                          FOR THE DISTRICT OF MASSACHUSETTS                    [Hon. Walter Jay Skinner, U.S. District Judge]                                              ___________________                                 ___________________                                        Before                                 Cyr, Circuit Judge,                                      _____________                            Bownes, Senior Circuit Judge,                                    ____________________                              and Boudin, Circuit Judge.                                          _____________                                 ___________________               David Wayfield on brief pro se.               ______________               Tracie L. Longman and Roche, Carens &amp; DeGiacomo on brief for               _________________     _________________________          appellee.                                  __________________                                  __________________                 Per Curiam.   Appellant David Wayfield alleges  that the                 __________            Town  of  Tisbury,  in  conjunction   with  numerous  private            parties,  deprived  him  of  his  constitutional   rights  in            violation  of 42 U.S.C.   1983.  After the defendants filed a            motion to  dismiss the  entire complaint,  Wayfield moved  to            amend his original complaint.   This motion was denied by the            district court on the ground that the amended complaint would            also be subject to dismissal.  Wayfield appeals the dismissal            of his  civil rights action.   With one exception,  we affirm            the dismissal of Wayfield's claims.                 In  dismissing  Wayfield's  civil  rights  claims,   the            district court  seems to  rely in part  on the  doctrine that            civil  rights  complaints  must   be  pled  with   heightened            particularity.   See Dartmouth  Review v.  Dartmouth College,                             ___ _________________     _________________            889  F.2d 13, 16 (1st Cir. 1989).  However, the Supreme Court            has  recently cautioned that  civil rights  claims are  to be            subject only  to normal standards of pleading.  Leatherman v.                                                            __________            Tarrant County  Narcotics Intelligence  &amp; Coordination  Unit,            ____________________________________________________________            113 S.Ct.  1160,  1163  (1993).    The  proper  standard  for            assessing  the  adequacy  of the  instant  complaint  then is            whether, accepting  the factual allegations in  the complaint            as  true,  and  construing  these facts  in  the  light  most            favorable  to the  plaintiff, the  pleading  shows any  facts            which  could entitle plaintiff to  relief.  See, e.g., Gooley                                                        ___  ___   ______            v.   Mobil  Oil Corp.,  851 F.2d  513, 514  (1st Cir.  1988).               _________________                                         -2-            Moreover, as a pro se plaintiff, Wayfield is entitled to have                           ___ __            his  complaint "liberally construed."  Estelle v. Gamble, 429                                                   _______    ______            U.S. 97, 106 (1976).                 Even  under   this  more  generous   standard,  most  of            Wayfield's causes of action are subject to dismissal  for the            reasons stated in the district court opinion, dated March 29,            1993.  However, we find that the amended complaint, liberally            construed, does state a  cause of action under section  1983.            We  therefore  reverse   the  district   court's  denial   of            Wayfield's  motion  to  amend his  complaint  and  vacate the            dismissal order in part.                 According  to  his amended  complaint,  on December  14,            1990,  Wayfield went  to the  Vineyard  Haven Public  Library            where  he spoke with the Library Director, defendant Marjorie            Convery,  and  attempted  to persuade  her  to  stock several            "revisionist" books  and periodicals.   Ms.  Convery did  not            respond and  "seemed very angry  but controlled."   Within an            hour, Wayfield was falsely accused by Ms. Convery of stealing            a menorah from  the library.  When he refused  her request to            open   his  shoulder  bag   to  be  searched,   Wayfield  was            "assaulted" by Convery.   On December 18, Wayfield received a            certified  letter from  Convery informing  him  that "[a]s  a            result of the disruptive incident that occurred on Saturday .            . . your presence on the property  or in the building will no            longer  be permitted."   On December 20,  he received another                                         -3-            letter  dated December 19,  1990, from the  Board of Trustees            for the Vineyard  Haven Public Library, announcing  that, due            to the "disruptive incident," he was banned from the  library            until April 2, 1991.   After Wayfield returned to the library            in January  1991,  he  was  charged with  trespassing.    The            charges  were eventually  dropped.   Wayfield  admits to  the            existence of a disturbance but alleges that he was the victim            of an  illegal assault by  Convery.  He further  alleges that            the ban  imposed upon him was due  not to any disturbance but            was in retaliation for his political views.                 To state a  cause of action  under 42  U.S.C.   1983,  a            plaintiff   must  allege   sufficient  facts  to   support  a            determination  "(i) that the  conduct complained of  has been            committed under  color  of  state  law, and  (ii)  that  [the            alleged] conduct  worked a  denial of  rights secured by  the            Constitution or  laws  of the  United States."   Chongris  v.                                                             ________            Board of Appeals,  811 F.2d 36, 40 (1st  Cir.), cert. denied,            ________________                                ____  ______            483  U.S. 1021 (1987). Liberally construing the complaint and            accepting its allegations as true, we find that the complaint            states a  cause of action under 42  U.S.C.   1983 against Ms.            Convery.  First,  as evidenced by her letter  of December 18,            1990,  banning   Wayfield  from  the  library,   Ms.  Convery            purported to act  under the color of state  law.  Second, the            banning  of Wayfield  because of  his  political views  would            appear to be  a violation of his constitutional  rights.  Cf.                                                                      __                                         -4-            Nestor Colon Medina  &amp; Sucesores, Inc. v. Custodio,  964 F.2d            _____________________________________     ________            32,  40  (1st  Cir.  1992)  (denial of  land  use  permit  in            unjustifiable retaliation for  expression of political  views            constitutes a first amendment violation).                   [While  a]  State or  its  instrumentality may,  of                 course,  regulate the use of its libraries or other                 public  facilities  .  .  .it  must  do   so  in  a                 reasonable  and  nondiscriminatory  manner, equally                 applicable to all and administered with equality to                 all. . .  . And it may not invoke regulations as to                 use--whether  they  are  ad  hoc  or  general--as a                                          __  ___                 pretext  for  pursuing  those  engaged  in  lawful,                 constitutionally   protected   exercise   of  their                 fundamental rights.            Brown v. Louisiana, 383 U.S. 131, 142-43 (1966).             _____    _________                 To be  sure,  the allegations  that the  assault by  Ms.            Convery and her banning  him from the library were  motivated            by animus  toward Wayfield's political  views are conclusory.            Such  conclusory   allegations  become  facts   for  pleading            purposes "only when such conclusions are logically compelled,            or at least supported, by the stated facts, that is, when the            suggested  inference rises to what experience indicates is an            acceptable  level  of  probability."    Dartmouth  Review  v.                                                    _________________            Dartmouth College, 889 F.2d 13, 16 (1st Cir. 1989).              _________________                                         -5-                 The   complaint   does   allege  facts   which,   albeit            circumstantial, support the  conclusion that  the banning  by            the Director  was politically motivated.  Since  the state of            mind of an actor  often "must be inferred from  the things [a            party] says  or does[,]"   Anthony v. Sundlun, 952  F.2d 603,                                       _______    _______            605  (1st  Cir.  1991),  circumstantial  evidence  alone  can            support a conclusion of discriminatory intent.  Id.                                                             __                 First, Wayfield  alleges that on the day of the incident            which led to  the banning he discussed with  the Director his            political views.   Not only was she thus aware of those views            but   Wayfield  alleges  that  she  "seemed  very  angry  but            controlled."   He then alleges  that "within an hour"  he was            accused falsely of stealing a  menorah and was "assaulted" by            the Director.  From these facts, it is possible to infer that            the accusation  of stealing was  a pretext and that  the real            reason  for the "assault"  and the Director's  letter banning            Wayfield was animus towards Wayfield's political views.                   We also find that, although the  question is very close,            the complaint alleges  a cause of action against  the Town of            Tisbury  as  well.   According  to  the  complaint, liberally            construed,  the Board  of  Trustees  of  the  Vineyard  Haven            Library banned Wayfield from the library between December 19,            1990,  and April  2,  1991 because  of  his political  views.            While  the  Board  purported  to  act  only  because  of  the            "disruptive  incident" which  occurred  between Wayfield  and                                         -6-            Convery,  the complaint alleges that this incident was only a            pretext, a  conclusion we  have decided  is supported  by the            facts alleged in the complaint.  We do  not find the possible            inference that the Board, acting  on the basis of information            provided by  the Director, may  have been aware of,  and even            shared, the  Director's intent,  to be  so speculative as  to            require dismissal of  this case without any  further inquiry.            Since  the Board  of  Trustees is  the  body responsible  for            managing the library,  see Mass. Gen.  L. ch. 78,    11,  any                                   ___ ____  ___   _            illegal acts it  may have committed would expose  the town to            liability.  See  Pembaur v. Cincinnati, 475  U.S. 469, 483-84                        ___  _______    __________            (1986) (municipality is liable under section 1983 even for "a            single decision  to take  unlawful action  . .  .  [which  is            made]   by  the   official  or   officials  responsible   for            establishing  final policy with respect to the subject matter            in question.").                 We   affirm  the  district   court's  dismissal  of  all            Wayfield's  claims except those  against Ms. Convery  and the            Board  of Trustees  in regard  to  the allegedly  politically            motivated  banning   of  Wayfield  from  the  Vineyard  Haven            Library.  As  to those claims, we vacate the dismissal of the            complaint,  reverse the  denial of  the motion  to amend  the            complaint,  and  remand  to the  district  court  for further            proceedings.                                         -7-                 Affirmed in  part; vacated  in part and  remanded.    No                 _________________  ________________      ________            costs.                                          -8-

